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           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK

            HANNA BOUVENG,
                                                Plaintiff',                              14-cv-5474 (PGG)
            v.
                                                                                         STIPULATION AND      ft •;:: ::z =-1
                                                                                         CONSENT ORDER WITH
            NYG CAPITAL LLC d/b/a. NEW YORK. GLOBAL                                      PERMANENT INJUNCTION
            OROUP, FNL MEDIA LLC, and BENJAMIN WEY

                                                Defendants.

            NYO CAPITAL LLC and BENJAMIN WEY,
                                                                                                USl)CSDNY
                                                                                                DOCUMENT
                                                Counterclaim Plaintiffs,                        ELECTRONICALLY °FILED
            v.                                                                                  DOC #: _ ____,~~:----:=--11
                                                                                                DATE FILED:

            HANNA BOUVENG,
                                              Counterclaim Defendant.

            NYO CAPITAL LLC and BENJAMIN WEY,

                                                Third-Party Plaintiffs,
            v.
            THE MORELLI LAW FIRM PLLC, MORELLI
            ALTERS RATNER, MORELLI RATNER LAW
            FIRM, PLLC, MORELLI RATNER, P.C., MORELLI
            ALTERS RATNER P.C., MORELLI ALTERS
            RATNER LLP, a.nd MORELLI LAW FIRM, PLLC,

                                                Tlurd-Party Defendants.

                  WHEREAS, all pru:tics have agreed to resolve this action and have agreed to the entry of

           this Stipulation and Consent Order with Permanent Injunction:

                  NOW. THEREFORE, Plaintiff Hanna Bouveng ("Plaintiff' or "Counterclaim Defendant"),

           Defendants NYG Capital LLC d/b/a New York Global Croup, FNL Media LLC and Beajamin

           Wey ("Defendants" or ''NYG Parties" or "Counterclaim Plaintiffs"), and Third-Party Defendants

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           The Morelli Law Firm PLLC. Morelli Alters Ratner, Morelli Ratner Law Firm, PLLC, Morelli

           Ratner, P.C .• Morelli Alters Ram.er P,C,, Morelli Alters Ratner LLP. and Morelli Law Finn. PLLC

           (collectively the "Morelli Finn" or 'l'fhird-Party Defendants"), (Plaintiff, Defendants. and the

           Morelli Finn may be referred to individually as a ''Party" and collectively as the "Parties"), hereby

           stipulate, pursuant to Federal Rule of Civil Procedure 41(a)(2), as follows:

                    1.    Plaintiff Hanna Bouveng voluntarily withdraws and dismisses with prejudice (and

           without costs, fees or expenses to any party) all claims asserted in this action.

                    2.    The NYO Parties voluntarily withdraw and dismiss with prejudice (and without

           costs, fees. or expenses to any party) all claims asserted in this action including, without limitation,

           all counterclaims and all third-party claims BBserted against the Third-Party Defendants (0kt. No.

           372).

                    3,     The Judgment (Dkt. No. 249) and Amended Judgment (Dkt. No. 312) are hereby

           vacated, and shall be null and void and of no force or effect

                    4.     The Parties are hereby permanently enjoined as follows: The Parties shall never

           publish, post. republish or repost, nor cause, permit or encourage anyone else Wlder their control

           to publish, post, republish or repos~ anything of any kind, accurate or not, of, about, regarding or

           concerning the other Parties (including without limitation of, about, regarding or concerning any

           member of the Parties' family) in any medium of any kind, For purposes of this Stipulation and

           Consent Order with Permanent Injunction, the Parties are further permanently enjoined from

           making or ca.ul:ling any such publications or postings about (i) Benedict Morelli and his family;

           and (ti) any current lawyers of the Morelli Finn, The Court shall retain jurisdiction over the Parties

            to enforce this Stipulation and Consent Order with Permanent Injunction.




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                  S,      A violation of the foregoing injunction shall subject the breaching Party to

           contempt of Court, and all othor remedies available at law and in equity to the non-breaching Party

           or Parties. Nothing in this Stipulation and Consent Order with Permanent Injunction shall limit

           the rights and remedies of the non-breaching Party in any way.



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           bmorelli@morellil3w,com
            Counsel for Plaintiff

                                                                 ~ ~ fi,.w-¢ ~ 1-d ~ ~ ~.
            Dated: New York, New York                                                   SO ORDERED:
                   June 12, 2018


                                                                                        Pau~f:;#6
                                                                                        United States District Judge




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